    Case 2:13-cr-00227-ILRL-JVM Document 600 Filed 11/02/20 Page 1 of 2



                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                            CRIMINAL ACTION

VERSUS                                              NO. 13-227

JEREMIAH JACKSON                                    SECTION” “B”

                           ORDER & REASONS
     IT IS ORDERED that petitioner Jeremiah Jackson’s motion to

appoint counsel is DENIED. Rec. Doc. 580.

     On May 13, 2015, petitioner plead guilty to violations of 18

U.S.C. § 1962(d); 21 U.S.C. § 841(a); 18 U.S.C. § 924(o); and 18

U.S.C. § 1959(a)(3). Rec. Doc. 515 at 1-2. Thereafter he was

sentenced to 300 months in prison as to each of counts 1 and 2 of

the third and 240 months in prison as to each of Counts 3 and 5,

all to be served concurrently. Rec. Doc. 515 at 3.

     Petitioner’s motion to appoint counsel is construed as an

effort to seek assistance in filing for habeas relief. There is no

constitutional right to counsel in a habeas corpus proceeding.

Pennsylvania v. Finley, 481 U.S. 551, 555 (1987). However, the

court has discretion to appoint counsel to a “financially eligible

person” seeking relief under 28 U.S.C. § 2255 when “the interests

of justice so require.” 18 U.S.C. § 3006A(a)(2).

     As basis for relief, petitioner asserts the Supreme Court’s

decision in United States v. Davis, 139 S. Ct. 2319 (2019). In

Davis, the Supreme Court addressed 18 U.S.C. § 924(c), which


                                    1
    Case 2:13-cr-00227-ILRL-JVM Document 600 Filed 11/02/20 Page 2 of 2



required that violators “face a mandatory minimum sentence of five

years in prison, over and above any sentence they receive for the

underlying crime of violence or drug trafficking crime.” Id. at

2324. The Court held that “§ 924(c)(3)(B) is unconstitutionally

vague,” in its definition of a “crime of violence.” Id. at 2336.

Petitioner argues this ruling affects his sentence because he plead

guilty under 18 U.S.C. § 924. However, petitioner did not plead

guilty to a violation of § 924(c), the portion of the statute Davis

held unconstitutional, rather he plead guilty to a violation of 18

U.S.C. § 924(o)(2). Rec. Docs. 216, 515. Because Davis only held

that 18 U.S.C. § 924(c)(3)(B) was unconstitutional, that decision

has no bearing on petitioner’s guilty plea or sentence. 1 See Davis,

139 S. Ct. 2336; see also United States v. Ellis, No. CR 15-124,

2019 WL 4673178, at *1 (E.D. La. Sept. 25, 2019). Accordingly, the

interests of justice do not require appointed counsel in this

instance for seeking unavailable relief under 28 U.S.C. § 2255.

       New Orleans, Louisiana this 2nd day of November 2020



                              ___________________________________
                              SENIOR UNITED STATES DISTRICT JUDGE



1 Even if Davis has applicability here, “defendants whose § 924(c) convictions
are overturned…will not even necessarily receive lighter sentences:…when a
defendant's § 924(c) conviction is invalidated, courts of appeals ‘routinely’
vacate the defendant's entire sentence on all counts ‘so that the district
court may increase the sentences for any remaining counts’ if such an
increase is warranted. Davis, 139 S.Ct. at 2336 quoting Dean v. United
States, 137 S.Ct. 1170, 1176 (2017). There are factors here warranting the
latter increases, if resentencing is required.

                                      2
